                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

RENA JOHNSON,                                         )
                                                      )
      Plaintiff,                                      )
                                                      )
v.                                                    )       Civil No. 3:18-cv-00278
                                                      )       Judge Trauger
OCWEN LOAN SERVICING, LLC,                            )
                                                      )
      Defendant.                                      )

                           ORDER SETTING CASE FOR TRIAL

      1.      Trial setting: This case is set for jury trial on Tuesday, May 21, 2019 at
              9:00 a.m. in Courtroom 873 of the United States Courthouse, 801 Broadway,
              Nashville, Tennessee.

      2.      Pretrial conference setting: A pretrial conference shall be held in Judge Trauger’s
              chambers, Room 825 United States Courthouse, 801 Broadway, Nashville,
              Tennessee, on May 17, 2019 at 1:30 p.m. Lead counsel for each party must
              attend the pretrial conference. If lead counsel is not from Tennessee, local
              counsel must also attend.

      3.      Information exchanged but not filed: By April 30, 2019, the parties shall
              exchange copies of exhibits and make available for examination by any opposing
              party the original of all exhibits. By this same date, the parties shall exchange
              designations of portions of depositions which are to be read into evidence during
              the case in chief. The parties should attempt to agree on additions to the
              designations necessary to put responses into context.

      4.      Filings required prior to pretrial conference: The following shall be filed by
              May 14, 2019 :

              a.      witness lists;

              b.      exhibit lists (Plaintiff’s exhibits shall be premarked as “P-1, P-2,” etc.;
                      defendant’s exhibits shall be premarked as “D-1, D-2,” etc. The
                      authenticity of exhibits should be stipulated to if at all possible. Failure to
                      include an exhibit on this exhibit list will result in its not being admitted
                      into evidence at trial, except upon a showing of good cause.);




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               c.      stipulations; and

               d.      expert witness statements as described in Local Rule 39.01(c)(6)c.1

       5.      Motions in limine: Motions in limine shall be filed by May 3, 2019 . Responses
               shall be filed by May 14, 2019.

       6.      Pretrial Order: By May 14, 2019 , the parties shall file a joint proposed Pretrial
               Order which shall contain the following:

               a.      a recitation that the pleadings are amended to conform to the Pretrial Order
                       and that the Pretrial Order supplants the pleadings;

               b.      the jurisdictional basis for the action and whether jurisdiction is disputed;

               c.      a short summary of each party’s theory (prepared by the party);

               d.      a listing of the contested issues of law, with a designation of whether the
                       issue is for the jury or the judge; and

               e.      a listing of known evidentiary disputes, including those involving
                       deposition designations.

       7.      Duration of trial: The trial of this case is expected to last 3   days.

       8.      Jury costs: If the case settles closer to trial than two business days, the cost of
               summoning the jury may be assessed against the parties.

       It is so ORDERED.

       ENTER this 21st day of May 2018.


                                                       ________________________________
                                                       ALETA A. TRAUGER
                                                       U.S. District Judge




       1
        Judge Trauger requires the filing of medical expert (as opposed to treating physician)
statements as well. The exclusion for medical expert statements in the referenced Local Rule
does not apply in her court.



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